          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                           CIVIL NO. 3:02CV66
                              (3:97CR22-9)


IVEY WALKER,              )
                          )
             Petitioner,  )
                          )
         Vs.              )                    JUDGMENT
                          )
UNITED STATES OF AMERICA, )
                          )
             Respondent.  )
                          )

     For the reasons stated in the Memorandum of Opinion filed herewith,

     IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that

the Petitioner’s motion to vacate, set aside, or correct judgment pursuant to

28 U.S.C. § 2255 is GRANTED IN PART AND DENIED IN PART; the

Petitioner’s conviction remains intact, but his sentence on Count Four to

life imprisonment is hereby VACATED.

     The Clerk is directed to prepare an amended Judgment of Conviction

reflecting that the Petitioner’s sentence on Count Four is 240 months

imprisonment to run concurrently with the sentence on Count Five of 240

months imprisonment. The provision for supervised release as to Count




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Four shall be amended to three years to run concurrently with the period of

supervised release on Count Five of three years. All other terms and

provisions of the original Judgment shall remain the same and in full force

and effect.

      Petitioner is hereby placed on notice that no future motion pursuant

to 28 U.S.C. § 2255 may be filed absent permission from the United States

Fourth Circuit Court of Appeals.


                                     Signed: August 14, 2006




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